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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

CODY WRIGHT,

   Plaintiff,

-vs-                                              CASE NO.: 6:18-CV-00522-ORL-37-KRS

AYA HEALTHCARE, INC.,

   Defendant.
                                       /


                JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE


       COMES NOW the Plaintiff, Cody Wright, and the Defendant, Aya Healthcare, Inc., and

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, without prejudice, each

claim and count therein asserted by Plaintiff against the Defendant in the above styled action,

with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

       Respectfully submitted this 30th day of May, 2018.

/s/Frank H. Kerney, III, Esquire                  /s/Michael P. Bruyere, Esquire
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 30, 2018, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System: Michael P. Bruyere, Esquire,

Freeman Mathis & Gary, LLP, 100 Galleria Parkway, Suite 1600, Atlanta, GA                 30339

(mbruyere@fmglaw.com).

                                             /s/Frank H. Kerney, III, Esquire
                                             Frank H. Kerney, III, Esquire
                                             Counsel for Plaintiff
